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                    Exhibit 5
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                                                                           ELECTRON ICALLY
                   LAW OFFICES
 1        MONTELEONE & McCRORY, LLP                                            FILED
        725 South Figueroa Street, Suite 3200                             Superior Court of California,
 2          Los Angeles, California 90017                                  County of San Francisco
      Tel: (213) 612-9900 Fax: (213) 612-9930
 3                                                                         11/28/2017
                                                                           Clerk of the Court
     WILLIAM J. INGALSBE (SBN 66278)                                         BY:EDNALEEN ALEGRE
 4   DIANA M. DRON (SBN 86195)                                                            Deputy Clerk
     J. MICHAEL GRIMM (SBN 295224)
 5
     Attorneys for Cross-Defendant
 6   Glacier Northwest, Inc.
 7
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8
                                 FOR THE COUNTY OF SAN FRANCISCO
 9

10
     MILLENNIUM TOWER ASSOCIATION, a ) Case No. CGC-17-557830
11                                         [Assigned for All Purposes to the Hon. Curtis
12
     California nonprofit mutual benefit
     corporation,
                                                      l
                                           E.A. Kamow-Dept. 304]


                                                      ~
                                           GLACIER NORTHWEST, INC.'S
13                 Plaintiff,              MOTION TO QUASH WEBCOR
                                         ) CONSTRUCTION, INC'S SUMMONS
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                                                      ~
     v.                                    AND CROSS-COMPLAINT
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                                                      ~
                                                   Action Filed: March 29, 2017
     MISSION STREET DEVELOPMENT, LLC,              Trial Date: None set.
16 a Delaware Limited Liability Company; et al., )
                                                 ) Date: December 20,2017
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                       D_e_re_n_d_an_t_s·-------------~
                                                   Time: 2:00p.m.
   , _____________
18 AND ALL RELATED CROSS-ACTIONS.                ) Place: Dept. 304
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         TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORD:
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         PLEASE TAKE NOTICE THAT on December 20, 2017, or as soon thereafter as the
21
     motion can be heard, Glacier Northwest, Inc. (hereinafter "Glacier") will move the Court
22
     for an order quashing the service on Glacier of the summons and cross-complaint of
23
     Webcor Construction LP, dba Webcor Builders, survivor to a merger with Webcor
24
     Construction, Inc. (hereinafter "Webcor").
25
         Glacier makes this special appearance on the grounds that the state of California does
26
     not have jurisdiction over Glacier pursuant to California Code of Civil Procedure
27
     (hereinafter "CCP") §418.10. Glacier is a Washington corporation which does not do
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        Case 2:18-cv-00556-TSZ Document 15-7 Filed 11/21/18 Page 3 of 12




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            GLACIER NORTHWEST, INC.'S MOTION TO    WEBCOR            INC'S
                               SUMMONS AND CROSS-COMPLAINT
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2
         I.     BACKGROUND
 3

 4       Glacier is a Washington corporation that does not do business in the state of California
 5   and does not have the requisite minimum contacts giving rise to general or specific
 6   jurisdictional grounds upon which personal jurisdiction may be established. (Anderson Aff.
 7   at 14). Plaintiff is a homeowner's association which brought suit against multiple parties
 8   for the alleged defective design and construction of a residential high-rise in San Francisco,
 9   California. (Grimm Decl. at 12). Webcor is one of the defendants named in the complaint.
10   (Grimm Decl. at 12). In its cross-complaint, Webcor named Glacier as a cross-defendant,
11   alleging causes of action of equitable indemnity, contribution and declaratory relief against
12   Glacier. (Grimm Decl. at 13). Glacier is a ready-mixed concrete supplier incorporated in
13   Washington, with its principal place of business in Seattle, Washington and does not do
14   any business in the state of California. (Anderson Aff. at 13 and 14).
15

16      II.     LEGAL ARGUMENT
                A. Glacier Does Not Have a Substantial Connection with California
17
18      A court must have personal jurisdiction over the parties to a civil action. In the absence
19   of personal jurisdiction over a defendant, the court has no authority to render a valid
20   judgment against that party nor to act in any other respect. See e.g., Schwenke v. J&P

21   Scott, Inc. (1988) 205 Cal.App.3d 71. Facts of this case show that California courts lack
22   jurisdiction over Glacier, so the service of the summons and cross-complaint must be
23   quashed.
24      The United States Supreme Court has long held that the due process clause in the 14th
25   amendment of the United States Constitution limits the ability of courts in a state to
26   exercise jurisdiction over out-of-state defendants. See e.g., International Shoe v.
27   Washington (1945) 326 U.S. 310. It is well settled that unless a defendant consents to
28   litigation in a state, a court can exercise personal jurisdiction only ifthe defendant has

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 1   "minimum contacts" with that state. Id. Through numerous cases, the United States
 2   Supreme Court has clarified the test for "minimum contacts" to two inquiries: general
 3   jurisdiction and specific jurisdiction. If neither exists, due process prevents a court from
 4   forcing the defendant to appear.
 5       General jurisdiction over a foreign corporation may exist when the corporation's
 6   affiliations with the State are so "continuous and systematic" as to render the corporation
 7   essentially at home in the forum state. Id at 317. Glacier does not do any business in the
 8   state of California, so any allegation implying Glacier's contacts with California are so
 9   continuous and systematic cannot be supported.
10       In addition to general jurisdiction, specific jurisdiction also does not exist. Specific
11   jurisdiction analyzes whether there is a "substantial connection" between a defendant and
12   the forum state. Not only is Glacier an out of state corporation that does not do business in
13   the state of California, the cross-complaint does not even make an allegation that would
14   avail Glacier to jurisdiction in California. (Anderson Aff. at ,4; Grimm Decl. at ,3). The
15   causes of action against Glacier are for equitable indemnity, contribution and declaratory
16   relief, or potential damages. Minimum contacts in the form of potential damages is not a
17   "substantial connection" which would subject a defendant to personal jurisdiction.
18       The Supreme Court has said "[t]he inquiry whether a forum State may assert specific
19   jurisdiction over a nonresident defendant "focuses on 'the relationship among the
20   defendant, the forum, and the litigation.' "Keeton v. Hustler Magazine, Inc., 465 U.S. 770,
21   775, 104 S.Ct. 1473,79 L.Ed.2d 790 (1984) (quoting Shaffer v. Heitner, 433 U.S. 186,204,
22   97 S.Ct. 2569, 53 L.Ed.2d 683 (1977)). For a State to exercise jurisdiction consistent with
23   due process, the defendant's suit-related conduct must create a substantial connection with
24   the forum State." Walden v. Fiore (2014) 134 S.Ct. 1115, 1121. In order for this Court to
25   have personal jurisdiction over Glacier, Webcor must demonstrate a "substantial
26   connection" between Glacier and California. The relationship between an out of state
27   defendant and the forum state must arise out of the contacts created by the out of state
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 1   defendant within the forum. See Walden at 1122. There is no evidence that Glacier has any
 2   contacts with California and there is not even an allegation in Webcor' s cross-complaint of
 3   any such contacts. (Grimm Decl. at ~3). A Plaintiff [or cross-complainant] cannot be the
 4   only link between the defendant and the forum. Walden at 1122. That is an insufficient
 5   basis for jurisdiction. !d. at 1122-1123.
 6      Moreover, the "substantial connection" cannot be the mere fact that Glacier may have
 7   sold a product which was ultimately used in California.
 8                  "The "substantial connection" between a defendant and the
 9                  forum State necessary for a finding of minimum contacts
10                  must derive from an action purposely directed toward the
11                  forum State, and the mere placement of a product into the
12                  stream of commerce is not such an act, even if done with an
13                  awareness that the stream will sweep the product into the
14                  forum State absent additional conduct indicating an intent
15                  to serve the forum state market." Asahi Metal Industry Co.,
16                  LTD v. Superior Court ofCalifornia, Solano County (1987)

17                  402 u.s. 102, 103-104.
18
19      As found in Asahi, there must be additional activities between Glacier and the state of
20   California that would create a "substantial connection", and jurisdiction in California. As
21   Glacier did not perform any additional activities, and none are alleged, there are no
22   minimum contacts upon which personal jurisdiction may be established.
23
                B. It Is Not Reasonable to Subject Glacier to California Jurisdiction
24
25      Assuming arguendo that this Court finds that there is a substantial connection between
26   Glacier and California, it is not reasonable to force Glacier into defending a lawsuit in
27   California. In determining whether California courts have jurisdiction over Glacier, the
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 1   Court must consider whether personal jurisdiction "comport[s] with fair play and
 2   substantial justice." Burger King Corp. v. Rudzewicz471 U.S. 462,476-477. This
 3   reasonableness requirement of fair play and substantial justice may defeat local jurisdiction
 4   even if the defendant has purposefully engaged in forum-related activities. See Asahi at
 5   115; Burger King at 477-478.
 6       The Court should give substantial deference to the facts of this case. Glacier was named
 7   in the cross-complaint in the event that Webcor is found to have some liability in the
 8   underlying action. The Plaintiff, Millennium Tower Association, has not alleged that
 9   Glacier is at fault for the defective design and construction of the high-rise. (Grimm Decl.
10   at ~2). Glacier's principal place ofbusiness is in Seattle, Washington (Anderson Aff. at ~3),
11   Glacier was incorporated as a Washington corporation in 1991 (Anderson Aff. at ~2), and
12   Glacier does not do any business in the State of California (Anderson Aff. At ~4). The
13   underlying case has a 49-page, 206-paragraph complaint for damages of at least $200
14   million, with at least 30 parties (likely to far exceed 30 through cross-complaints). (Grimm
15   Decl. at ~2). To force a corporation with no ties to California and potentially the slightest of
16   minimum contacts (although Glacier contends it does not have minimum contacts to
17   establish personal jurisdiction) is manifestly unreasonable, and does not comport with fair
18   play and substantial justice.
19       Glacier is a foreign corporation, which does not do any business in California.
20   California courts recognize remoteness for a tortfeasor, and the same principle should be
21   applied to Glacier, should the Court find a "substantial connection". In Farris v. Capt JB.
22   Fronapftl Co., the court said that a nonresident tortfeasor may not be subject to California
23   jurisdiction if the tortious conduct is ~'too remote in time and causal connection" to the
24   injuries suffered in California. Farris v. Capt JB. Fronapfel Co. (1986) 182 CA.3d 982,
25   990. Merely supplying a product that ended up in California bears no causal connection to
26   the design and construction defects which are causing the Millennium Towers to displace,
27   and Glacier should not be subjected to the overbearing underlying action for its role (or
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          GLACIER NORTHWEST, INC.'S MOTION TO QUASH WEBCOR CONSTRUCTION, INC'S
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        GLACIER           INC.'S MOTION TO    WEBCOR              INC'S
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                               DECLARATION OF J. MICHAEL GRIMM
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     Case 2:18-cv-00556-TSZ Document 15-7 Filed 11/21/18 Page 12 of 12




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